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                      EXHIBIT F
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     Electronics Manufacturing Company of America, Inc.
13
                                  UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
15
     In re: CATHODE RAY TUBE (CRT)                                 Case No. 13-cv-01173 SC
16   ANTITRUST LITIGATION                                          Case No. 13-cv-02776 SC
                                                                   Case No. 07-cv-05944 SC
17   This Document Relates to: Individual Case No. 13-
     cv-01173 SC; Individual Case No. 13-cv-02776 SC               MDL No. 1917
18
     SHARP ELECTRONICS CORPORATION;                                SHARP ELECTRONICS
19   SHARP ELECTRONICS MANUFACTURING                               CORPORATION AND SHARP
     COMPANY OF AMERICA, INC.,                                     ELECTRONICS
20                                                                 MANUFACTURING COMPANY OF
     Plaintiffs,                                                   AMERICA, INC.’S FIRST SET OF
21                       v.                                        INTERROGATORIES TO
     HITACHI, LTD.; HITACHI DISPLAYS, LTD.;                        DEFENDANTS
22   HITACHI AMERICA, LTD.; HITACHI ASIA,
     LTD.; HITACHI ELECTRONIC DEVICES (USA),                       DATE: September 19, 2013
23   INC.; SHENZHEN SEG HITACHI COLOR
     DISPLAY DEVICES, LTD.; LG ELECTRONICS,
24   INC.; LG ELECTRONICS USA, INC.; LG
     ELECTRONICS TAIWAN TAIPEI CO., LTD.; LP
25   DISPLAYS INTERNATIONAL, LTD.;
     MERIDIAN SOLAR & DISPLAY CO., LTD.;
26   LG.PHILIPS DISPLAYS HOLDING B.V.;
     LG.PHILIPS DISPLAYS INTERNATIONAL B.V.;
27   PANASONIC CORPORATION; PANASONIC
     CORPORATION OF NORTH AMERICA;
28   PANASONIC CONSUMER ELECTRONICS CO.;

        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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     MT PICTURE DISPLAY CO., LTD.;
1    MATSUSHITA ELECTRONIC CORPORATION
     (MALAYSIA) SDN BHD.; BEIJING
2    MATSUSHITA COLOR CRT CO., LTD.;
     SAMSUNG SDI CO., LTD.; SAMSUNG SDI
3    AMERICA, INC.; SAMSUNG SDI (MALAYSIA)
     SDN BHD.; SAMSUNG SDI MEXICO S.A. DE
4    C.V.; SAMSUNG SDI BRASIL LTDA.;
     SHENZHEN SAMSUNG SDI CO., LTD.; TIANJIN
5    SAMSUNG SDI CO., LTD.; SAMSUNG SDI
     (HONG KONG), LTD.; TOSHIBA
6    CORPORATION; PT.MT PICTURE DISPLAY
     INDONESIA; TOSHIBA AMERICA, INC.;
7    TOSHIBA AMERICA CONSUMER PRODUCTS
     LLC; TOSHIBA AMERICA ELECTRONIC
8    COMPONENTS, INC.; TOSHIBA AMERICA
     INFORMATION SYSTEMS, INC.; TOSHIBA
9    DISPLAY DEVICES (THAILAND) COMPANY,
     LTD.; THOMSON SA (N/K/A TECHNICOLOR
10   SA); THOMSON CONSUMER ELECTRONICS,
     INC. (N/K/A TECHNICOLOR USA, INC.);
11   VIDEOCON INDUSTRIES, LTD.;
     TECHNOLOGIES DISPLAYS AMERICAS LLC;
12   TECHNOLOGIES DISPLAYS MEXICANA, S.A.
     DE C.V.
13
     Defendants.
14

15
     SHARP ELECTRONICS CORPORATION;
16   SHARP ELECTRONICS MANUFACTURING
     COMPANY OF AMERICA, INC.,
17
     Plaintiffs,
18                       v.
     KONINKLIJKE PHILIPS ELECTRONICS N.V.,
19   A/K/A ROYAL PHILIPS ELECTRONICS;
     PHILIPS ELECTRONICS INDUSTRIES
20   (TAIWAN) LTD.; PHILIPS ELECTRONICS
     NORTH AMERICA CORPORATION; PHILIPS
21   CONSUMER ELECTRONICS CO.; PHILIPS DA
     AMAZONIA INDUSTRIA ELECTRONICA
22   LTDA.; AND ORION ENGINEERING &
     SERVICE, INC.
23
     Defendants.
24

25
           PROPOUNDING PARTIES:                  Plaintiffs Sharp Electronics Corporation and Sharp
26                                               Electronics Manufacturing Company of America, Inc.
27
           RESPONDING PARTIES:                   Hitachi, Ltd.; Hitachi Displays, Ltd.; Hitachi
28                                               America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic
                                                        -2-
        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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                                                 Devices (USA), Inc.; LG Electronics, Inc.; LG
1                                                Electronics USA, Inc.; LG Electronics Taiwan Taipei
2                                                Co., Ltd.; Panasonic Corporation; Panasonic
                                                 Corporation of North America; MT Picture Display
3                                                Co., Ltd.; Samsung SDI Co., Ltd.; Samsung SDI
                                                 America, Inc.; Samsung SDI (Malaysia) Sdn Bhd.;
4                                                Samsung SDI Mexico S.A. de C.V.; Samsung SDI
                                                 Brasil Ltda.; Shenzhen Samsung SDI Co. Ltd.;
5                                                Tianjin Samsung SDI Co., Ltd.; Samsung SDI (Hong
6                                                Kong), Ltd.; Toshiba Corporation; Toshiba America,
                                                 Inc.; Toshiba America Electronic Components, Inc.;
7                                                Toshiba America Information Systems, Inc.;
                                                 Technologies Displays Americas LLC; Koninklijke
8                                                Philips Electronics N.V.; and Philips Electronics
                                                 North America Corporation
9

10         SET NO.:                              One

11

12                   Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs

13   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.,

14   through their undersigned counsel, request that each Defendant answer the following

15   Interrogatories within thirty (30) days of service and supplement its Interrogatory answers, as

16   necessary, to comply with Federal Rule of Civil Procedure 26(e). Defendants are directed to

17   serve verified answers at PAUL, WEISS, RIFKIND, WHARTON & GARRISON, LLP, Attn:

18   Craig A. Benson, 2001 K St., N.W., Washington, DC 20006, or at another time and place as may

19   be mutually agreed upon by counsel for the parties.

20                                               DEFINITIONS

21           1.      The term “Defendant” and “Defendants” means any defendant named in the

22   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.

23   Complaints in this MDL action and their present or former Employees, officers, directors,

24   agents, predecessors, successors, parents, subsidiaries, affiliates, or any other person acting on

25   their behalf.

26           2.      The term “Person” or “Persons” is defined to mean any natural person,

27   corporation, or partnership, proprietorship, joint venture, or any business, legal, or government

28   entity, organization, or association.

                                                        -3-
        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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1            3.      The terms “You,” “Your,” and “Yourself” mean Hitachi, Ltd.; Hitachi Displays,

2    Ltd.; Hitachi America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic Devices (USA), Inc.; LG

3    Electronics, Inc.; LG Electronics USA, Inc.; LG Electronics Taiwan Taipei Co., Ltd.; Panasonic

4    Corporation; Panasonic Corporation of North America; MT Picture Display Co., Ltd.; Samsung

5    SDI Co., Ltd.; Samsung SDI America, Inc.; Samsung SDI (Malaysia) Sdn Bhd.; Samsung SDI

6    Mexico S.A. de C.V.; Samsung SDI Brasil Ltda.; Shenzhen Samsung SDI Co. Ltd.; Tianjin

7    Samsung SDI Co., Ltd.; Samsung SDI (Hong Kong), Ltd.; Toshiba Corporation; Toshiba

8    America, Inc.; Toshiba America Electronic Components, Inc.; Toshiba America Information

9    Systems, Inc.; Technologies Displays Americas LLC; Koninklijke Philips Electronics N.V.;

10   and/or Philips Electronics North America Corporation, and present or former Employees,

11   officers, directors, agents, predecessors, successors, parents, subsidiaries, affiliates, or any other

12   person acting on Your behalf.

13           4.      The term “Employee” means any individual currently in the employ of, or at any

14   time employed by, or acting as the agent of a Defendant as defined herein.

15           5.      The term “CRT(s)” means cathode ray tube(s).

16           6.      The term “CPT(s)” means color picture tube(s).

17           7.      The term “CRT Manufacturer” means any entity that manufactures CRTs.

18           8.      Unless otherwise noted, the term “Relevant Time Period” means the period from

19   March 1, 1995 through December 31, 2007.

20           9.      The term “Communication” means without limitation, oral or written

21   communications of any kind, such as electronic communications, e-mails, facsimiles, telephone

22   communications, correspondence, exchange of written or recorded information, or face-to-face

23   meetings. The phrase “communication between” is defined to include instances where one party

24   addresses the other party but the other party does not necessarily respond.

25           10.     The term “Date” means the exact day, month and year, if ascertainable, or the best

26   available approximation, including any relationship to other known events (designate whether

27   exact or approximate).

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        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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1            11.     The term “Meeting” means, without limitation, any assembly, convocation,

2    encounter, or contemporaneous presence of two or more persons for any purpose, whether

3    planned or arranged, scheduled or not.

4            12.     The term “Customer” means, without limitation, any individual, entity,

5    organization, business, company, corporation, or partnership to which You sold, transfer, gifted,

6    assigned, or otherwise conveyed CRTs, as those terms are defined herein.

7            13.     The term “Competitor” means, without limitation, any individual, entity,

8    organization, business, company, corporation or partnership that sold or otherwise conveyed

9    CRTs in the same markets as You and against whom You competed for Customers of CRTs.

10           14.     “All” shall be construed as all, each, any, and every.

11           15.     The terms “and” and “or” shall be construed either disjunctively or conjunctive as

12   necessary to bring within the scope of the Interrogatories all information that might otherwise be

13   construed to be outside of their scope.

14                                              INSTRUCTIONS

15           1.      Answers to these Interrogatories are to be based upon all knowledge or

16   information available to You, including without limitation all information or knowledge

17   possessed by any person, including without limitation any Employee, agent, attorney, expert

18   witness, representative, or other advisor subject to Your instruction, direction, or control.

19           2.      Where an Interrogatory cannot be answered due to insufficient knowledge,

20   specify the nature of the inquiries made in an attempt to answer the Interrogatory.

21           3.      You should answer each Interrogatory fully, unless it is objected to. When

22   making any objection, state with specificity the reasons for the objection.

23           4.      Where a complete answer to an Interrogatory is not possible, the Interrogatory

24   should be answered to the extent possible, and a statement should be provided stating why an

25   incomplete answer is given, along with the identity of any sources from which more complete

26   information may be obtained.

27           5.      Any claim of ambiguity in interpreting a particular Interrogatory or a definition or

28   instruction shall not be utilized as a basis for refusing to answer. Rather, You shall specify the
                                                        -5-
        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
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1    language deemed to be ambiguous and the interpretation utilized in the response to the

2    Interrogatory.

3            6.       When asked to identify a natural person, state the person’s name, employer,

4    position, dates of employment or tenure, and home address for all times during the Relevant

5    Period. If any of such information has changed during the Relevant Period, specify the time

6    period to which the information provided in Your answer pertains.

7            7.       When asked to identify any entity other than a natural person, state the name and

8    address of the principal office or headquarters. If any of the information has changed during the

9    Relevant Period, specify the time period to which the information provided in Your answer

10   pertains.

11           8.       If the responding party elects to produce business records in response to an

12   Interrogatory pursuant to Federal Rule of Civil Procedure 33(d), the responding party shall

13   produce the records as they are kept in the usual course of business or shall organize and label

14   them to correspond with the Interrogatory. If the document is being produced in its native

15   electronic format (allowing the document to retain its metadata), identify the document using its

16   hash or other appropriate electronic identification and identify the Interrogatories to which the

17   document is responsive. If the document is not being produced in electronic form, identify the

18   document using the applicable bates numbers or specifically identify the type of document being

19   produced (e.g., letter, memorandum, telegram, contract, invoice, etc.), its date and author(s), its

20   custodian, and every person to whom such document or any copy thereof was given or sent. For

21   all documents produced pursuant to Rule 33(d), identify the name of the employee, officer, or

22   agent certifying the documents as business records.

23                                           INTERROGATORIES

24   Interrogatory No. 1:

25                    State the name, address, and relationship to You of each Person who prepared or

26   assisted in the preparation of the responses to these Interrogatories. (Do not identify anyone who

27   simply typed or reproduced the responses.)

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                                                        -6-
        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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1    Interrogatory No. 2:

2                   Identify all Communications and/or Meetings with CRT Manufacturers regarding

3    the sales, production, and/or prices of CPTs in and/or for the United States, Mexico, and/or

4    Brazil during the Relevant Time Period, excluding any Communications and/or Meetings

5    occurring solely in the context of a Customer-supplier relationship between You and a Customer,

6    and for each such Communication and/or Meeting:

7                   (a)     provide the Date and location of the Meeting and/or Communication;

8                   (b)     identify the Person(s) who initiated, called, organized, attended, or

9    participated in the Meeting and/or Communication;

10                  (c)     describe the subject matter(s) of the Meeting and/or Communication,

11   including details of any information provided, received, or exchanged;

12                  (d)     identify all Persons with knowledge relating to the Meeting and/or

13   Communication;

14                  (e)     describe the type and dimensions of the CPTs discussed;

15                  (f)     identify whether the attendees at the Meeting and/or persons involved in

16   the Communication reached any agreement concerning CPT sales, production, and/or prices.

17   Interrogatory No. 3:

18                  To the extent not previously identified in response to Interrogatory No. 2, identify

19   all Communications and/or Meetings regarding the sales, production, and/or prices of CPTs

20   during the Relevant Time Period, where at least one party to the Communication was employed

21   in and/or based out of the U.S., Mexico, and/or Brazil at the time of the Communication,

22   excluding any Communications and/or Meetings conducted solely in the context of a Customer-

23   supplier relationship between You and a Customer, and for each such Communication and/or

24   Meeting:

25                  (a)     provide the Date and location of the Meeting and/or Communication;

26                  (b)     identify the Person(s) who initiated, called, organized, attended, or

27   participated in the Meeting and/or Communication;

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                                                       -7-
       SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
             FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
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1                    (c)     describe the subject matter(s) of the Meeting and/or Communication,

2    including details of any information provided, received, and/or exchanged;

3                    (d)     identify all Persons with knowledge relating to the Meeting and/or

4    Communication;

5                    (e)     describe the type and dimensions of the CPTs discussed;

6                    (f)     identify whether the attendees at the Meeting and/or persons involved in

7    the Communication reached any agreement concerning CPT sales, production and/or prices.

8                    This request includes instances where Communications with outside parties are

9    forwarded to, or subsequently shared with, persons based in the United States, Mexico, and/or

10   Brazil, or employed by affiliated entities of Defendants in the United States, Mexico, and/or

11   Brazil.

12

13
     DATED: September 19, 2013           By: _/s/ Craig A. Benson        __________
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26                                          Sharp Electronics Manufacturing Company of America, Inc.
27

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        SHARP ELECTRONICS CORPORATION AND SHARP ELECTRONICS MANUFACTURING COMPANY OF AMERICA, INC.’S
              FIRST SET OF INTERROGATORIES TO DEFENDANTS -- Case Nos. 13-cv-1173 and 13-cv-2776; MDL No. 1917
